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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

LAURA BRISCOE, et al.,

              Plaintiffs,                            Case No. 16-cv-10294

              v.

HEALTH CARE SERVICE CORPORATION                      Judge John Robert Blakey
and BLUE CROSS AND BLUE SHIELD OF
ILLINOIS,

              Defendants.

                     MEMORANDUM OPINION AND ORDER

        Plaintiffs Laura Briscoe, Kristin Magierski, and Emily Adams gave birth

while insured by Blue Cross and Blue Shield of Illinois (BCBSIL). Plaintiffs, on

behalf of three proposed classes, allege that Defendants Health Care Service

Corporation (HCSC) and BCBSIL violated the Patient Protection and Affordable

Care Act (ACA) by failing to cover lactation counseling services. Plaintiffs amended

their complaint in May 2017. [28]. Defendants moved to dismiss that complaint

under Federal Rule of Civil Procedure 12(b)(6). [33]. For the reasons explained

below, this Court partially grants and partially denies Defendants’ motion.

I.      Background

        A.    The ACA’s Requirements

        The ACA requires health plans to cover certain preventive services without

imposing cost sharing.      42 U.S.C. § 300gg-13.   “Cost sharing” means costs that

members pay themselves, such as copayments, coinsurance, and deductibles. 29



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C.F.R. § 2590.715-2713(a)(1). For women, health plans must fully cover “preventive

care and screenings” that the Health Resources and Services Administration

(HRSA) identifies in its guidelines. § 300gg-13(a)(4). HRSA’s guidelines require

coverage during and after pregnancy for “lactation support and counseling” and

“renting breastfeeding equipment.”            Health Res. & Servs. Admin., Women’s

Preventive Services Guidelines, https://www.hrsa.gov/womens-guidelines/index.html

(last visited Nov. 3, 2017). 1

       The ACA does not require health plans to maintain a network of lactation

counselors, but plans lacking in-network providers must cover lactation counseling

performed by out-of-network providers without imposing cost sharing. 45 C.F.R. §

147.130(a)(3). Simply put, those plans must pay all expenses for out-of-network

lactation services. Plans that offer “networks of providers” must give participants

some information about their providers: namely, “an Internet address (or similar

contact information) for obtaining a list of network providers.” 45 C.F.R. § 147.200.

       B.     Plaintiffs

       Briscoe gave birth in November 2014 while insured by BCBSIL through her

then-employer, the Field Museum. [28] ¶¶ 16, 99. She called BCBSIL to identify

in-network lactation consultants, and a representative told her that BCBSIL “had

no network of providers for lactation services.”            Id. ¶ 100.     Briscoe then tried

BCBSIL’s online Provider Finder (PF), but could not locate an in-network provider


1HRSA updated its guidelines in December 2016. Health Res. & Servs. Admin., Women’s Preventive
Services Guidelines (Dec. 20, 2016), https://www.hrsa.gov/womens-guidelines-2016/index.html. This
opinion refers to the older guidelines because the events at issue happened before December 2016,
but the relevant provisions remain substantively the same in the new version.

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because PF did not allow “lactation,” “breastfeeding,” or related terms as searchable

provider types or specialties.   Id.   After BCBSIL’s resources proved unhelpful,

Briscoe independently found an International Board Certified Lactation Consultant

(IBCLC) who gave her a $200 in-home consultation. Id. ¶¶ 101–03. When Briscoe

submitted a claim for reimbursement, BCBSIL denied the lactation consultation as

an excluded service. Id. ¶ 103. After Briscoe appealed, BCBSIL paid $160 and held

her responsible for $40 in coinsurance. Id. ¶ 104.

      Magierski gave birth in April 2016 while insured by a plan she bought

directly through BCBSIL. Id. ¶¶ 17, 106. Magierski contacted BCBSIL twice to get

a list of in-network providers for lactation services. Id. ¶ 107. Representatives told

her that BCBSIL had no in-network lactation services providers, so she could use

any provider and BCBSIL would fully cover the services. Id. Magierski still tried

using PF to find an in-network provider, but ran into the same problems as Briscoe.

Id. ¶ 108. Like Briscoe, she then independently found an IBCLC for an in-home

consultation that cost $245.20. Id. ¶ 109. When Magierski submitted a claim for

reimbursement, BCBSIL covered $137.59, but applied that covered amount to

Magierski’s out-of-network deductible, leaving her responsible for paying the full

$245.20. Id. ¶ 110. Magierski appealed, but to no avail. Id. ¶ 111.

      Adams gave birth in May 2016 while insured by BCBSIL through her

employer, the Illinois Attorney Registration and Disciplinary Commission (ARDC).

Id. ¶ 113; [34] at 11.       Before contacting an IBCLC that her pediatrician

recommended, Adams tried using PF to find an in-network lactation consultant, but



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found PF as unhelpful as Briscoe and Magierski did. [28] ¶ 114. Adams then called

BCBSIL to ask about providers; a representative told her that BCBSIL would

reimburse her an undisclosed “allowed amount” for out-of-network lactation

services because BCBSIL “had no network of providers for lactation services.” Id. ¶

115.    So, Adams saw her pediatrician’s IBCLC for an in-home lactation

consultation, paid $235 out of pocket, and submitted a claim to BCBSIL for

reimbursement. Id. ¶¶ 116–17. BCBSIL reimbursed her only $109.64, applying

$27.40 to coinsurance and denying the rest of the claim as not covered (without

explaining how it calculated the covered amount). Id. ¶ 117. BCBSIL upheld that

decision when Adams appealed. Id. ¶ 118.

       C.    Defendants

       HCSC, an independent licensee of the Blue Cross and Blue Shield

Association, operates Blue Cross and Blue Shield plans in Illinois, Montana, New

Mexico, Oklahoma, and Texas that serve more than 15 million members. Id. ¶ 19.

More than 12 million of those members come from HCSC’s employer-group

segment.    Id.   BCBSIL is a division of HCSC.    Id. ¶ 20.   The largest health

insurance company in Illinois, BCBSIL serves more than 8 million members. Id.

HCSC operates group and individual health insurance plans within the ACA’s

purview. Id. ¶ 22. BCBSIL and other HCSC divisions offer and administer plans

directly through ACA Exchanges. Id. ¶ 23.




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II.      Legal Standard

         To survive a motion to dismiss, a complaint must provide a “short and plain

statement of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P.

8(a)(2), so Defendants have “fair notice” of the claim “and the grounds upon which it

rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47 (1957)). A complaint must also contain “sufficient factual

matter” to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).             A claim has facial

plausibility “when the pleaded factual content allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal,

556 U.S. at 678 (citing Twombly, 550 U.S. at 556). This plausibility standard “asks

for more than a sheer possibility that a defendant has acted unlawfully.”

Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013).

         Thus, “threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.”         Limestone Dev. Corp. v. Vill. of

Lemont, 520 F.3d 797, 803 (7th Cir. 2008). In evaluating a complaint, this Court

accepts all well-pleaded allegations as true and draws all reasonable inferences in

Plaintiffs’ favor. Iqbal, 556 U.S. at 678. This Court does not, however, accept legal

conclusions as true. Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009).

III.     Analysis

         Plaintiffs’ putative class action alleges that BCBSIL violated the ACA by

denying them coverage for, and access to, lactation counseling. Plaintiffs assert



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their claims under various legal theories, including ERISA (Counts I, II, and III),

the ACA’s anti-discrimination provision (Count IV), and state law (Counts V and

VI). Plaintiffs concede that Adams cannot pursue ERISA claims because ERISA

does not apply to her plan sponsored by her government employer, the ARDC. See

[34] at 24–25; [39] at 21 n.8. This Court dismisses Counts I, II, and III as to Adams.

       Broadly, Defendants argue that Counts II through VI fail because Plaintiffs

do not allege a plausible ACA violation. Defendants also attack most of Plaintiffs’

claims with more targeted arguments. This Court first addresses whether Plaintiffs

allege a plausible ACA violation—a necessary predicate to most of their claims—

and then addresses each count of the amended complaint in turn.

       A.      Whether Plaintiffs Allege a Plausible ACA Violation

       Plaintiffs claim that Defendants violated the ACA in two main ways: (1) by

improperly imposing cost sharing for lactation services; and (2) by creating

administrative barriers that block access to lactation services. See [28]. 2

               1.      Improper Cost Sharing

       Plaintiffs claim that Defendants violated the ACA by imposing cost sharing

for lactation counseling services that should have been fully covered under 45

C.F.R. § 147.130(a)(3). Defendants argue that the ACA allows them to impose cost

sharing for out-of-network services because their network has lactation counseling



2Among other tactics, Defendants argue that Plaintiffs’ claims fail because the ACA does not require
health plans to maintain a “separate network” of lactation counseling providers. See [34]. This
Court declines to address the “separate network” argument because Plaintiffs do not allege that the
ACA requires a separate network; they instead challenge whether BCBSIL’s existing network
satisfies the ACA (for example, because BCBSIL does not provide a list of in-network providers that
offer lactation counseling). See [28].

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providers. This Court finds that Plaintiffs state a plausible claim that Defendants

violated the ACA by improperly imposing cost sharing for lactation services.

      Briscoe, Adams, and Magierski each allege that BCBSIL representatives told

them in varying ways that no in-network providers existed.                A BCBSIL

representative told Briscoe that BCBSIL “had no network of providers for lactation

services,” and Adams got the same message when she contacted BCBSIL. [28] ¶¶

100, 115.   Magierski heard from two representatives that BCBSIL had no in-

network lactation services providers; those representatives told her that she could

see any provider and BCBSIL would fully cover the lactation counseling. Id. ¶ 107.

Each Plaintiff also found it impossible to locate in-network providers through

BCBSIL’s online search. Id. ¶¶ 100, 108, 114.

      Despite what its representatives told Plaintiffs, BCBSIL imposed cost

sharing on Plaintiffs’ claims for lactation counseling services. Defendants agree

that the ACA prohibits plans without in-network lactation counseling providers

from imposing cost sharing for those services when members see out-of-network

providers. [34] at 10–11. Accepting Plaintiffs’ allegations as true and drawing all

reasonable inferences in their favor, Iqbal, 556 U.S. at 678, they adequately allege

that BCBSIL had no in-network lactation counseling providers, but still imposed

cost sharing on claims for those preventive services in violation of the ACA.

      Defendants argue that they did nothing wrong because their provider

network has lactation services providers. Maybe so, but at this stage of the case,

this Court must accept the complaint’s factual allegations as true.        Id.   Here,



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Plaintiffs allege that BCBSIL should not have imposed cost sharing on their out-of-

network claims because BCBSIL has “no network of providers for lactation

services.”    [28] ¶ 100.   Although Defendants offer evidence of lactation services

providers in their network, this Court declines to consider that evidence on a motion

to dismiss.     Rule 12(b)(6) limits this Court’s consideration to the complaint,

documents attached to the complaint, documents central to the complaint (and to

which the complaint refers), and information properly subject to judicial notice.

Williamson, 714 F.3d at 436.       Under Rule 12(d), if this Court does not exclude

“matters outside the pleadings,” the motion becomes “one for summary judgment

under Rule 56.” Defendants fail to show how this Court can take judicial notice of

their evidence or why that evidence otherwise qualifies as central to the complaint.

As such, this Court does not consider their evidence here. Fed. R. Civ. P. 12(d).

      Defendants also argue that Plaintiffs concede that BCBSIL’s network has

lactation counseling providers.     Not so—Plaintiffs plainly allege the opposite in

their amended complaint, as discussed above. All of Defendants’ examples for this

line of argument mirror each other, so this Court need only address one.

Defendants cite paragraph 84 of the amended complaint, which includes a

screenshot of information about breastfeeding counseling that HCSC allegedly

posted on its website in early April 2016. The posting advises expectant and new

mothers that they “may be able to receive breastfeeding support” at no cost “if [they]

go to a trained, in-network provider.” [28] ¶ 84 (emphasis added). The posting then

tells insureds to ask their doctors to identify local providers who offer those services,



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after which the insureds should either use PF or contact customer service to confirm

the provider’s network status. Id. Plaintiffs cite this posting as an example of the

administrative barriers through which Defendants allegedly prevented them from

accessing lactation counseling. Id. ¶ 85.

      The conditional references in the web posting, however, fail to prove that

BCBSIL actually has in-network lactation counseling providers, unless one draws

several inferences in Defendants’ favor. Obviously, on Defendants’ Rule 12(b)(6)

motion, this Court cannot construe allegations in Defendants’ favor. Iqbal, 556 U.S.

at 678.   Thus, one paragraph in the amended complaint—or even a few such

paragraphs—that indicates that Defendants might have stated or implied that they

have in-network providers cannot override Plaintiffs’ express declarations that

BCBSIL, in fact, does not have in-network providers for lactation services.

                2.      Administrative Barriers

      Next, Plaintiffs claim that Defendants violated the ACA by imposing

“significant administrative barriers that prevent and deter women” from getting

lactation counseling services. [28] ¶ 79. Namely, Plaintiffs base their claims upon

“inconsistent        guidance   from   Defendants’   representatives,   lack   of   timely

responsiveness for pre-authorization or provider requests,” and Defendants’ failure

“to provide plan participants with any list or directory that clearly discloses the in-

network providers (if any) of Comprehensive Lactation Benefits.” Id. ¶¶ 79, 95.

Defendants argue that the ACA says nothing about “administrative barriers” and

that Plaintiffs effectively seek to rewrite the ACA by adding new requirements. See



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[34] at 20–24.    This Court finds that Plaintiffs state a plausible claim that

Defendants violated the ACA by imposing administrative barriers that render full

coverage for preventive breastfeeding services illusory.

      Plaintiffs allege that Defendants make it nearly impossible for members to

find in-network providers for lactation consultation services, and then impose cost-

sharing on members who see out-of-network providers when they have no other

viable options. Such allegations indicate that Defendants fail to comply with the

ACA’s mandate that they fully cover lactation consultation services. 42 U.S.C. §

300gg-13. Under Plaintiffs’ pleading theory, which this Court accepts at this early

stage of the proceedings, Iqbal, 556 U.S. at 678, Defendants offer illusory coverage

for breastfeeding services.

      As the Northern District of California recently held in a similar case, a plan

does not provide “coverage” under the ACA “if a patient can’t find the service” or

does not know that her health plan offers the service. Condry v. UnitedHealth Grp.,

Inc., No. 17-cv-00183-VC, slip op. at 3 (N.D. Cal. Aug. 15, 2017). That court rejected

as “absurd” the defendant’s argument that it complied with the ACA by having a

few in-network lactation counseling providers—no matter how much its members

struggled to identify those providers. Id. (citing Ariz. State Bd. for Charter Sch. v.

U.S. Dep’t of Educ., 464 F.3d 1003, 1009 (9th Cir. 2006) (“Well-accepted rules of

statutory construction caution us that statutory interpretations which would

produce absurd results are to be avoided.”)).




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      Indeed, insurance plans that provide “illusory coverage” in other industries

violate public policy; this Court sees no reason why health plans could offer illusory

coverage without running afoul of the ACA. See, e.g., PNC Fin. Servs. Grp., Inc. v.

Houston Cas. Co., 647 F. App’x 112, 119 (3d Cir. 2016) (defining an illusory plan

under Pennsylvania law as one that “would not pay benefits” for a type of coverage

“under any reasonably expected set of circumstances”) (internal quotation marks

omitted); Cynergy, LLC v. First Am. Title Ins. Co., 706 F.3d 1321, 1327 (11th Cir.

2013) (Under Georgia law, “an insurance policy may not purport to offer coverage

that inevitably will be defeated by one of the policy’s exclusions—in other words, the

policy may not offer coverage that is chimerical.”); Bethel v. Darwin Select Ins. Co.,

735 F.3d 1035, 1040 (8th Cir. 2013) (explaining that Minnesota law applies the

doctrine of illusory coverage to construe insurance contracts “so as not to be a

delusion to the insured” and to avoid “functionally nonexistent” coverage) (internal

quotation marks omitted); Monticello Ins. Co. v. Mike’s Speedway Lounge, Inc., 949

F. Supp. 694, 699 (S.D. Ind. 1996) (an insurance plan qualifies as illusory and

violates Indiana public policy when the plan “would not pay benefits” for a type of

coverage “under any reasonably expected set of circumstances”) (internal quotation

marks omitted).      Although Defendants’ plans do not contain self-defeating

exclusions like the examples above, the alleged administrative barriers here serve

the same function as those exclusions: making it virtually impossible for insured

women to obtain full coverage for breastfeeding services. Cf. Hartford Healthcare

Corp. v. Anthem Health Plans, Inc., No. 3:17-cv-1686, 2017 WL 4955505, at *9 (D.



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Conn. Nov. 1, 2017) (dismissing ACA claims about administrative burdens for

emergency services where the plaintiffs did not allege that the burdens “would

affect the coverage that patients receive for emergency services,” but “only the

hassle associated with using those services”).

      Here, Defendants argue that their plans comply with the ACA because some

women might stumble upon in-network lactation services providers while, for

example, giving birth in a hospital.     But an insurer “cannot avoid an illusory

coverage problem by simply conceiving of a single hypothetical situation to which

coverage would apply.”     Monticello, 949 F. Supp. at 701.      The fact that some

members might find the needle in the haystack and locate a provider despite

BCBSIL’s alleged administrative barriers fails to diminish Plaintiffs’ claims that,

overall, Defendants essentially guarantee that no women will locate in-network

lactation consultation providers. Much like the facts in Condry, the complaint here

tells a story of Defendants’ failure “to make lactation counseling services

meaningfully available to plan participants.” Condry, slip op. at 4 .

      To be sure, Plaintiffs do not identify any specific ACA provisions that

address, for example, “inconsistent guidance” from a health plan’s customer service

staff or “administrative barriers” more generally. But that does not mean that the

Plaintiffs seek to circumvent rules of statutory construction by grafting potentially

useful (but non-existent) requirements to the ACA. See Nestle Holdings, Inc. v.

Cent. States, Se. & Sw. Areas Pension Fund, 342 F.3d 801, 804 (7th Cir. 2003)

(explaining that “plain statutory language governs” in statutory interpretation).



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Rather, they seek to enforce the ACA’s plain language, which requires Defendants

to provide full coverage for preventive breastfeeding services from in-network

providers, or out-of-network providers if Defendants have no in-network providers.

        Of course, whether such allegations survive the discovery process and later

dispositive motions remains to be seen. At summary judgment, the parties can

address the precise legal contours of the ACA’s coverage requirements, and the

actual effect of any such barriers to coverage here (such as whether Defendants’

failure to provide a list of lactation consultation providers results in functionally

nonexistent coverage). 3 For now, Plaintiffs adequately allege that Defendants fail

to provide meaningful coverage for preventive breastfeeding services.

        B.     Count I: Breach of Fiduciary Duty

        Briscoe, on behalf of a proposed class, claims that Defendants breached their

fiduciary duties and violated § 503 of ERISA by failing “to provide timely,

substantive and accurate responses to requests for out-of-network benefits and/or

appeals to denials of requests for out-of-network benefits.” [28] ¶ 172. Briscoe

brings this claim pursuant to § 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3), which

authorizes civil suits by a beneficiary “to obtain other appropriate equitable relief”

to “enforce any provisions of this subchapter or the terms of the plan.” Defendants

argue that Briscoe fails to state a claim because she does not specify the plan terms

3 The parties dispute the deference owed to FAQs about the ACA jointly issued by the Departments
of Labor, Health and Human Services, and the Treasury; the FAQs say that plans and issuers must
provide a separate list of lactation counseling providers within a network. Dep’t of Labor, FAQs
About Affordable Care Act Implementation (Part XXIX) and Mental Health Parity Implementation
(Oct.    23,   2015),   https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-activities/resource-
center/faqs/aca-part-xxix.pdf. Even if this Court accords no deference to the FAQs, however,
Plaintiffs state a plausible ACA violation based upon the alleged failures of PF and Defendants’
representatives to identify any in-network lactation consultation providers.

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that Defendants breached. This Court agrees that Briscoe fails to state a claim, but

for a different reason.

      If Briscoe brought Count I under § 502(a)(1)(B), Defendants would be on

target because that section offers “a contract remedy under the terms of the plan.”

Larson v. United Healthcare Ins. Co., 723 F.3d 905, 911 (7th Cir. 2013) (internal

quotation marks omitted). But Briscoe seeks to enforce an ERISA provision, § 503,

and seeks equitable relief, meaning she brings her claim under § 502(a)(3). This

Court understands Defendants’ confusion, given that Briscoe merely states that she

brings Count I pursuant to § 502(a) without specifying which of its many

subsections she relies upon. [28] ¶ 168.

      That said, Briscoe fails to state a claim in Count I. ERISA § 503 provides

that every employee benefit plan shall:

      (1) provide adequate notice in writing to any participant or beneficiary
      whose claim for benefits under the plan has been denied, setting forth
      the specific reasons for such denial, written in a manner calculated to
      be understood by the participant, and

      (2) afford a reasonable opportunity to any participant whose claim for
      benefits has been denied for a full and fair review by the appropriate
      named fiduciary of the decision denying the claim.

29 U.S.C. § 1133. The implementing regulations require group health plans to

notify participants of a denial “within a reasonable period of time” no more than 30

days after getting a claim.    29 C.F.R. § 2560.503-1(f)(2)(iii)(B).   Denials must

contain, among other things, the “specific reason” and the “specific plan provisions”

driving the denial. Id. § 2560.503-1(g). To state an ERISA claim for breach of

fiduciary duty, Briscoe must show that: (1) Defendants are plan fiduciaries; (2)

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Defendants breached their fiduciary duties; and (3) the breach harmed her. Brosted

v. Unum Life Ins. Co. of Am., 421 F.3d 459, 465 (7th Cir. 2005).

      Based upon the current record, Briscoe fails to plead enough information to

allow this Court to “draw the reasonable inference that the defendant is liable for

the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556).

She says only that BCBSIL initially denied her lactation consultation claim by

classifying it as an excluded service, and that BCBSIL responded to her appeal—

within a month of the initial denial—by covering 80% of her claim and applying the

rest to coinsurance. [28] ¶ 103–04. She pleads no information establishing, for

example, that the notice failed to satisfy ERISA requirements or that BCBSIL

waited more than 30 days to deny her claim.        Thus, she fails to establish any

breach. This Court dismisses Count I.

      C.     Count II: Breach of Fiduciary Duty

      Briscoe, on behalf of a proposed class, claims that Defendants breached their

fiduciary duties under § 404 of ERISA by failing to fully cover out-of-network

lactation services for plan participants who lacked access to in-network providers.

[28] ¶ 178. Defendants offer no specific argument against Count II; they argue only

that it fails along with Counts III through VI because Plaintiffs do not allege a

plausible ACA violation. [34] at 17. This Court disagrees.

      As this Court explained above, Plaintiffs allege plausible ACA violations.

ERISA § 404 requires plan fiduciaries to discharge their duties “solely in the

interest of the participants” and “with the care, skill, prudence, and diligence” of a



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prudent person under the same circumstances. 29 U.S.C. § 1104(a)(1)(B). These

duties mirror the common-law duties of loyalty and care. Killian v. Concert Health

Plan, 742 F.3d 651, 664–65 (7th Cir. 2013). To state a claim for breach of fiduciary

duty under ERISA, Briscoe must establish that: (1) the defendants are plan

fiduciaries; (2) the defendants breached their fiduciary duties; and (3) the breach

harmed her. Brosted, 421 F.3d at 465.

      First, Briscoe alleges that Defendants qualify as plan fiduciaries because of

their discretionary authority in administering the ACA’s preventive service

requirements. [28] ¶ 145. Defendants contest their alleged co-fiduciary status in

Count III, based upon their corporate structure, but they do not contest that at least

one of them is a plan fiduciary. See [34]. Second, Briscoe alleges that Defendants

breached their fiduciary duties by improperly imposing cost sharing—an allegation

this Court already found plausible. Under ERISA, benefits determinations—like

the lactation services denials that Briscoe challenges—constitute fiduciary acts.

Larson, 723 F.3d at 917. Improperly denying claims for services that should be

fully covered indicates a failure to act “with the care, skill, prudence, and diligence”

of a prudent person under the same circumstances. Id.; see also § 1104(a)(1)(B).

Finally, Briscoe alleges that the improper cost sharing harmed her because she paid

$40 for a lactation consultation claim that BCBSIL should have fully covered. [28]

¶ 105. This Court denies the motion to dismiss Count II as to Briscoe.

      D.     Count III: Co-Fiduciary Breach and Knowing Breach of Trust

      Briscoe, on behalf of a proposed class, seeks to hold Defendants jointly and



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severally liable as co-fiduciaries under § 405 of ERISA for knowingly providing and

administering plans that violate the ACA. [28] ¶ 182. Alternately, Briscoe claims

that even if Defendants are not co-fiduciaries, they violated § 405 “as non-

fiduciaries that knowingly participated in a breach of trust.” Id. ¶ 186. Defendants

argue that Count III fails because they are not co-fiduciaries, and regardless of their

status, Briscoe fails to plead enough facts to support her claim. [34] at 29. This

Court agrees that Briscoe fails to state a claim.

      § 405 of ERISA provides that a plan fiduciary:

      shall be liable for a breach of fiduciary responsibility of another
      fiduciary with respect to the same plan in the following circumstances:

      (1) if he participates knowingly in, or knowingly undertakes to conceal,
      an act or omission of such other fiduciary, knowing such act or
      omission is a breach;

      (2) if, by his failure to comply with section 1104(a)(1) of this title in the
      administration of his specific responsibilities which give rise to his
      status as a fiduciary, he has enabled such other fiduciary to commit a
      breach; or

      (3) if he has knowledge of a breach by such other fiduciary, unless he
      makes reasonable efforts under the circumstances to remedy the
      breach.

29 U.S.C. § 1105(a).      The amended complaint alleges that each “Defendant

knowingly participated in and enabled the other Defendants’ breaches of fiduciary

duty by allowing Defendants to, as alleged herein, provide and administer health

plans” that violated the ACA’s preventive service requirements. [28] ¶ 182. Under

Iqbal, this allegation does not suffice to state a claim for co-fiduciary liability. 556

U.S. at 678 (allegations “merely consistent” with a defendant’s liability fall short of



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crossing “the line between possibility and plausibility”). Briscoe pleads no facts

alleging that HCSC and BCBSIL are co-fiduciaries of the same plan, and no facts

showing how they allegedly violated § 405. See [28]. Instead, she bundles the two

defendants together in a “naked assertion” and merely concludes that each enabled

the other’s breach of fiduciary duty. Iqbal, 556 U.S. at 678.

      Briscoe’s theory that Defendants could be held liable “as non-fiduciaries for

knowingly participating in a fiduciary’s breach of its duties” likewise fails because

she pleads no facts to support it.      [39] at 27.    For example, no variation of

“knowingly” appears in the amended complaint until paragraph 151, which

generally alleges that Defendants knowingly participated “in breaches” of “ERISA’s

fiduciary responsibility provisions.” This Court dismisses Count III. See York v.

Wellmark, Inc., No. 4:16-cv-00627-RGE-CFB, slip op. at 27–28 (S.D. Iowa Sept. 6,

2017) (dismissing a nearly identical claim against another independent licensee of

the Blue Cross and Blue Shield Association for the same reason).

E.    Count IV: Discrimination in Violation of the ACA

      Plaintiffs, on behalf of proposed classes, claim that Defendants discriminated

against them on the basis of their sex in violation of § 1557 of the ACA by providing

“disparate levels of health benefits, and specifically ACA mandated preventive

services, for breastfeeding and lactating women.” [28] ¶ 196. Defendants argue

that Plaintiffs fail to allege the requisite elements of a disparate-impact claim. [34]

at 31. This Court agrees that Count IV fails, but based upon a different reason.

      Section 1557 states that an individual:



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      shall not, on the ground prohibited under title VI of the Civil Rights
      Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the Education
      Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age Discrimination
      Act of 1975 (42 U.S.C. 6101 et seq.), or section 504 of the
      Rehabilitation Act of 1973 (29 U.S.C. 794), be excluded from
      participation in, be denied the benefits of, or be subjected to
      discrimination under, any health program or activity . . . . The
      enforcement mechanisms provided for and available under such title
      VI, title IX, section 504, or such Age Discrimination Act shall apply for
      purposes of violations of this subsection.

42 U.S.C. §18116(a). No court of appeals has yet fully analyzed discrimination

claims under § 1557, but this Court agrees with other district courts that § 1557

provides a private right of action. See, e.g., York, slip op. at 29; Se. Pa. Transp.

Auth. v. Gilead Scis., Inc., 102 F. Supp. 3d 688, 698 (E.D. Pa. 2015); Callum v. CVS

Health Corp., 137 F. Supp. 3d 817, 848 (D.S.C. 2015); Rumble v. Fairview Health

Servs., No. 14-cv-2037, 2015 WL 1197415, at *7 n.3 (D. Minn. Mar. 16, 2015) (“The

Court reaches this conclusion because the four civil rights statutes” that Congress

“referenced and incorporated into Section 1557 permit private rights of action.”).

      Although these courts agree that a private right of action exists, they part

ways on the appropriate standard for assessing § 1557 discrimination claims.

Rumble concluded that § 1557 creates a “health-specific” anti-discrimination claim

“subject to a singular standard, regardless of a plaintiff’s protected class status.”

2015 WL 1197415, at *11 (subjecting plaintiffs to different standards based upon

the type of discrimination claim they bring would be “illogical”). Gilead and York,

on the other hand, concluded that plaintiffs can only use the enforcement

mechanism of the civil rights statute that corresponds to their claim, based upon §

1557’s plain language. Gilead, 102 F. Supp. 3d at 698–99; York, slip op. at 34–35.

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Plaintiffs side with Rumble, citing a rule promulgated by the Office for Civil Rights

(OCR) in the Department of Health and Human Services: “OCR interprets Section

1557 as authorizing a private right of action for claims of disparate impact

discrimination on the basis of any of the criteria enumerated in” that section. [28] ¶

124 (quoting 81 Fed. Reg. 31375, 31440 (May 18, 2016)).

      When interpreting a statute, this Court must first determine whether the

statute’s language is plain and unambiguous. Carcieri v. Salazar, 555 U.S. 379, 387

(2009). If it is, this Court must “give effect to the unambiguous statutory language”

and end the inquiry there. Our Country Home Enters., Inc. v. Comm’r of Internal

Revenue, 855 F.3d 773, 785 (7th Cir. 2017) (internal quotation marks omitted);

United States v. Marcotte, 835 F.3d 652, 656 (7th Cir. 2016) (“When a statute is

unambiguous, our inquiry starts and stops with the text.”).

      This Court finds § 1557’s text plain and unambiguous. Section 1557 begins

by identifying the ACA’s prohibited grounds for discrimination, based upon specific

references to four civil-rights statutes: race (42 U.S.C. § 2000d), sex (20 U.S.C. §

1681), age (42 U.S.C. § 6102), and disability (29 U.S.C. § 794). Section 1557 then

provides that the enforcement mechanisms “provided for and available under such

title VI, title IX, section 504, or such Age Discrimination Act shall apply for

purposes of violations of this subsection.”

      If Congress intended for a single standard to apply to all § 1557

discrimination claims, repeating the references to the civil-rights statutes and

expressly incorporating their distinct enforcement mechanisms would have been a



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pointless (and confusing) exercise. See Gilead, 102 F. Supp. 3d at 698. Instead,

Congress used the civil-rights statutes for two purposes: (1) to define the grounds

for discrimination prohibited under the ACA; and (2) to establish the enforcement

mechanisms available under the ACA for different discrimination claims. Taken

together, the first two sentences of § 1557 unambiguously demonstrate Congress’s

intent “to import the various different standards and burdens of proof into a Section

1557 claim, depending upon the protected class at issue.” Id. at 698–99.

      Because this Court finds § 1557 plain and unambiguous, Defendant’s citation

to OCR’s interpretation is unavailing. “If the intent of Congress is clear, that is the

end of the matter; for the court, as well as the agency, must give effect to the

unambiguously expressed intent of Congress.” Chevron, U.S.A., Inc. v. Natural Res.

Def. Council, 467 U.S. 837, 843–44 (1984); see also York, slip op. at 33–34.

      In light of the above, Title IX’s enforcement mechanism applies to Plaintiffs’

sex discrimination claim, so their claim fails because Title IX does not allow

disparate-impact claims. Title IX “implies a private right of action to enforce its

prohibition on intentional sex discrimination.”     Jackson v. Birmingham Bd. of

Educ., 544 U.S. 167, 173 (2005). And Title VI of the Civil Rights Act—the model for

Title IX—prohibits only intentional discrimination.      Alexander v. Sandoval, 532

U.S. 275, 280 (2001). Because Title IX must be interpreted and applied the same

way as Title VI, see Cannon v. Univ. of Chi., 441 U.S. 677, 696 (1979), Plaintiffs

may not assert Title IX discrimination claims premised upon a disparate-impact

theory.   See, e.g., Doe v. Univ. of Colo., Boulder, --- F. Supp. 3d ---, 2017 WL



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2311209, at *12 n.10 (D. Colo. May 26, 2017); Doe v. Brown Univ., 166 F. Supp. 3d

177, 184 (D.R.I. 2016); Tsuruta v. Augustana Univ., No. 4:15-cv-04150, 2015 WL

5838602, at *4 (D.S.D. Oct. 7, 2015) (Post-Sandoval, “a claimant cannot bring a

disparate impact cause of action under Title IX.”).    In short, Plaintiffs cannot

proceed with a disparate-impact claim under § 1557, which incorporates Title IX’s

enforcement mechanism for sex discrimination claims. See York, slip op. at 35.

Here, Plaintiffs do not allege intentional discrimination on the basis of sex, and

thus, this Court dismisses Count IV.

      F.    Count V: Breach of Contract

      Magierski, on behalf of a proposed class, claims that Defendants breached

their contract with her by denying her lactation benefits in accordance with her

plan documents, which incorporate the ACA’s provisions on women’s preventive

care by reference. [28] ¶¶ 201–05. Defendants counter that Plaintiffs do not allege

a plausible ACA violation, so Count V fails.        [34] at 9.    But Defendants

mischaracterize Count V as depending upon whether Plaintiffs allege a plausible

ACA violation.   Instead, Count V seeks to enforce Magierski’s rights under her

contract with BCBSIL.

      This Court finds York instructive in assessing Count V. York denied a motion

to dismiss an identical breach of contract claim against Wellmark. Slip op. at 38.

Citing the McCarran-Ferguson Act of 1945 (MFA) and the ACA, York explained

that the ACA does not preempt “consumers’ traditional ability to vindicate their




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rights under the insurance laws of their state.” 4 Id. The MFA says that state

regulation of the insurance industry serves the public interest, and thus Congress’s

silence on insurance issues “shall not be construed to impose any barrier to the

regulation or taxation of such business by the several States.” 15 U.S.C. § 1011.

The ACA empowers states to police healthcare exchanges.                     42 U.S.C. § 300gg-

22(a)(1). Thus, in the traditionally state-regulated insurance realm, courts should

presume that states may continue regulating when Congress has not spoken to the

contrary on an issue. York, slip op. at 38.

        This Court agrees that the ACA does not preempt consumers like Magierski

from vindicating their rights under state contract law. See 42 U.S.C. § 18001 et seq.

When courts interpret federal statutes addressing “a subject traditionally governed

by state law,” they must find preemption only when “it is ‘the clear and manifest

purpose of Congress.’” Gracia v. Volvo Europe Truck, N.V., 112 F.3d 291, 294 (7th

Cir. 1997) (quoting CSX Transp., Inc. v. Easterwood, 507 U.S. 658, 664 (1993)). The

ACA contains a narrow preemption provision. 42 U.S.C. § 18041(d) (“Nothing in

this title shall be construed to preempt any State law that does not prevent the

application of the provisions of this title.”). Defendants do not argue (and this Court

does not believe) that it applies here. Given the absence of any indication that

Congress intended the ACA to preempt breach of contract claims, and taking as



4 On the same topic, York also explained that the ACA “does not afford consumers a private right of
action under federal law.” Slip op. at 37–38. Although that statement, at first glance, appears to
contrast with York’s holding that § 1557 creates a private right of action, id. at 29, this Court
interprets York to hold that the ACA creates a private right of action specifically for § 1557
discrimination claims, but not a general private right of action for consumers to pursue any and all
claims against their insurance companies.

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true Magierski’s allegations that Defendants violated her plan documents by

refusing to cover the full cost of lactation services, this Court finds that Magierski

states a plausible claim for breach of contract.     This Court denies Defendants’

motion to dismiss as to Count V.

      G.     Count VI: Unjust Enrichment

      Magierski, on behalf of a proposed class, claims that Defendants have been

unjustly enriched by, among other things, “withholding money” owed to her and

other putative class members for lactation benefits. [28] ¶ 207. Magierski fails to

specify which state’s law applies here; this Court presumes Illinois law, given the

forum and the fact that Illinois has the most significant contacts with the parties

and events in this case. Mass. Bay Ins. Co. v. Vic Koenig Leasing Inc., 136 F.3d

1116, 1122 (7th Cir. 1998).    Under Illinois law, however, an unjust enrichment

claim fails when “the claim rests on the breach of an express contract.” Shaw v.

Hyatt Int’l Corp., 461 F.3d 899, 902 (7th Cir. 2006) (citing Guinn v. Hoskins

Chevrolet, 826 N.E.2d 681, 704 (Ill. 2005)).      Magierski runs squarely into this

roadblock: she alleges the breach of an express contract in Count V and cites her

contract with BCBSIL throughout the complaint. See, e.g., [28] ¶ 98.

      Magierski argues that, because she offers Count VI “in the alternative,” the

claim must go forward at the motion-to-dismiss stage. [39] at 29. Of course, Rule 8

allows inconsistent pleadings. See Peterson v. McGladrey & Pullen, LLP, 676 F.3d

594, 597 (7th Cir. 2012) (explaining that “there’s no rule against inconsistent

pleadings in different suits, or for that matter a single suit”). But if the parties do



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not dispute a contract’s existence, “a claim for unjust enrichment necessarily fails”

and cannot be offered in the alternative. Hickman v. Wells Fargo Bank N.A., 683 F.

Supp. 2d 779, 797 (N.D. Ill. 2010) (applying Illinois law and dismissing a similar

claim with prejudice). Neither side disputes that a valid contract existed between

Magierski and BCBSIL, so Magierski’s unjust enrichment claim fails. This Court

dismisses Count VI.

IV.   Conclusion

      This Court partially grants and partially denies Defendants’ motion to

dismiss [33]. This Court dismisses Counts IV and VI with prejudice, and Counts I,

II, and III with prejudice as to Adams. This Court dismisses Counts I and III

without prejudice as to Briscoe. This Court denies the motion for Count V, and for

Count II as to Briscoe.


Dated: December 4, 2017

                                              Entered:



                                              ____________________________________
                                              John Robert Blakey
                                              United States District Judge




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